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                             United States District Court
                               District of Minnesota

Jer Lee,                                        Court file no. 11-cv-01240 (JNE-SER)

                     Plaintiff,

v.                                               Notice of Dismissal with Prejudice

Enhanced Recovery Company, LLC,
and Does 1-10,

                     Defendants.


     It is hereby stipulated and agreed to by Plaintiff and her attorney that the

above-entitled action against Defendants shall be and hereby is dismissed with

prejudice, without costs, disbursements, or attorney fees to any party, and that a

judgment of dismissal with prejudice may be entered in the above-entitled action.

                                        The Ryder Law Firm, LLC

Date: June 27, 2011____________         s/ Randall P. Ryder
                                        Randall P. Ryder (#389957)
                                        125 Main Street SE, #250
                                        Minneapolis, MN 55414

                                        phone • 612.424.3770
                                        fax • 612.605.3247
                                        e-mail • email@theryderlawfirm.com

                                        Attorney for Plaintiff
